                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                               STATESVILLE DIVISION
                            DOCKET NO. 5:18-cv-00055-MOC

 JOE HENRY THOMAS; AND SYLVIA                               )
 MALLARD THOMAS,                                            )
                                                            )
                       Appellants,                          )
                                                            )
 Vs.                                                        )                  ORDER
                                                            )
 STEVEN G. TATE,                                            )
                                                            )
                        Appellee.                           )


       THIS MATTER is before the Court on the second Memorandum to the District Court

from the Clerk of the Bankruptcy Court (#6) filed in accordance with Rule 8001(a), Federal Rules

of Bankruptcy Procedure. Fed.R.Bankr.P. 8001(a).

       In that memorandum, the Bankruptcy Clerk advises that the pro se Appellants have to

comply with Rule 8009(b) in that they have not filed the Designation of Items to be included in

the “Record on Appeal” and have not filed a Statement of Issues for this Court to consider in

determining their appeal. Fed.R.Bankr.P. 8009(b). Pursuant to Roseboro v. Garrison, 528 F.2d 309

(4th Cir.1975), appellants are advised that in failing to file such items with the Bankruptcy Court,

their appeal is not in compliance with Rule 8009(b). Id. To comply with that rule, appellants will

need to file both a Designation of Items to be include in the Record on Appeal and a Statement of

Issues within the additional time allowed in this Order.

       Finally, the appellants are again advised that “failure to take any step other than the timely

filing of a notice of appeal does not affect the validity of the appeal, but is ground only for the

district court ... to act as it considers appropriate, including dismissing the appeal.” Fed.R.Bankr.P.

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8003(a)(2). Appellants are advised that if they fail to make the filings discussed in this Order and

file those by May 25, 2018, the Court may dismiss this action or take other appropriate action.



                                           ORDER

       IT IS, THEREFORE, ORDERED that acting upon the second Memorandum to the

District Court from the Clerk of the Bankruptcy Court (#6), appellants are advised that they are

required to file with the bankruptcy Clerk of Court both a “Designation of Items” to be included

in the Record on Appeal and a “Statement of Issues” not later than May 25, 2018.




 Signed: May 10, 2018




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